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                                 United States District Court
                                   SOUTHERN DISTRICT OF CALIFORNIA


                      NOTICE OF E-FILED DOCUMENT DISCREPANCY

 CASE NUMBER: 16-cv-02816-AJB-NLS
 TITLE: Moorer v. Stemgenex Medical Group, Inc. et al
 E-FILED DATE: 12/21/2016                      DOCUMENT NO.:               26
 DOCUMENT TITLE: NOTICE of Errata
 DOCUMENT FILED BY: A. Mark Pope, Attorney for Plaintiff

 Upon the electronic filing of the above referenced document(s), the following discrepancies are noted:


 Civil Local Rule or Electronic Case Filing Administrative Policies and Procedures Manual provision
 (“ECF”) Discrepancy

  OTHER: Notice of Errata is prohibited.




IT IS HEREBY ORDERED:
      The document is accepted despite the discrepancy noted above. Any further non-compliant
 ☐ documents may be stricken from the record.
      The document is rejected. It is ordered that the Clerk STRIKE the document from the record,
 ☒ and serve a copy of this order on all parties.
Counsel is advised that any further failure to comply with the Local Rules or Electronic Case Filing
Administrative Policies and Procedures Manual may lead to penalties pursuant to Civil Local Rule 83.1
or Criminal Local Rule 57.1.


                                                                      Judge Battaglia
                                                                   Chambers of the Honorable
                                                                   Anthony J. Battaglia
